Case 9:17-cv-80370-RLR Document 61 Entered on FLSD Docket 03/09/2018 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION
                                       IN ADMIRALTY

                                      CASE NO: 17-80370-RLR

  INTERIOR SYSTEMS MANAGEMENT CORP.

          Plaintiff,

  vs.

  M/Y BROADWATER, a 159’ Feadship, along with
   her engines, tackle, equipment, rigging, dinghies, furniture
  appurtenances, etc., in Rem,

        Defendant.
  ________________________________________/

                       STIPULATION OF DISMISSAL WITH PREJUDICE

        COMES NOW, the PARTIES, Plaintiff, INTERIOR SYSTEMS MANAGEMENT CORP.

  (hereinafter “ISM”), and Defendant, M/Y BROADWATER, a 159’ Feadship, British Official

  Number 733319, by and through its undersigned counsel and pursuant to Fed.R.Civ.P.

  41(a)(1)(A)(ii), hereby stipulate to the dismissal of this case with prejudice, each party to bear its

  own attorney’s fees and costs.

           Dated: March 9, 2018.

           /s./ RICHARD D. RUSAK___________              /s./ ROBERT D. McINTOSH______
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Case 9:17-cv-80370-RLR Document 61 Entered on FLSD Docket 03/09/2018 Page 2 of 2




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 9, 2018, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record or pro se parties identified on the attached Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.

                                                 By: /s/ Richard D. Rusak
                                                         Richard D. Rusak

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                      Interior Systems Management Corp. v. M/Y Broadwater
                                     Case No.: 17-CV-80370

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